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                                                                                       REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
                                                                                                                                                                                                                                              Acute Emergency         Emergency
                                                                                                               ID #:28899                                                                                                                     (Child needs            (Needs emergency        Child needs
                                                                                                                    Infant/Toddler                                                                                                            emergency medical       medical services within future/consistent   No medical
3               Minor's Name                        A#           Infant's Name                         A#           DOB and Age         Visit Notes                                             Follow-Up Visit                               services immediately)   24 hours)               monitoring          concern


                                                                                                                                        From prior visit: Both seem to have the flu: fevers,
                                                                                                                                        congested, coughs.
                                                                                                                                        Attorney concerned baby also has pneumonia -
                                                                                                                                        rapid, shallow breathing, listless, eyes rolling
                                                                                                                                        back into head, could not eat or drink; did not cry; Officer 03/23/2019indicated in writing that
4           0                                                                                                                           hot to the touch.                                             was taken to the NICU.

                                                                                                                                        From prior visit: Baby: coughing, fever, vomiting,      Officer 03/23/2019indicated in writing that
5           0                                                                                                                           diarrhea.                                                        was transferred to Weslaco.

                                                                                                                                        From prior visit: We have been told they are no
                                                                                                                                        longer at Ursula, but please double check.
                                                                                                                                        Baby has had a fever and had been so sick she           Officer 03/23/2019indicated in writing that
6           0                                                                                                                           could not open her eyes; prescribed antibiotics.              was transferred to the NICU.

                                                                                                                                        From prior visit: Baby is anemic, gets high fevers,
                                                                                                                                        gets sick easily and is allergic to milk; often has
                                                                                                                                        diarrhea.
                                                                                                                                        Baby sleeps too much; lies asleep with eyes half
                                                                                                                                        open and doesn’t move, then makes a little noise
                                                                                                                                        and shivers (according to mom)                      Infant's parent was initially interviewed at
                                                                                                                                        Mom feels weak and has headaches because            Rio Grande City. Officer 03/23/2019indicated
7           0                                                                                                                           not eating well                                     in writing that      was taken to the NICU.




                                                                                                                                        From prior visit: Baby is sick, has had a fever,   Officer 03/23/2019indicated in writing that
8           0                                                                                                                           currently has conjunctivitis and a bad cough       baby was transferred to the NICU.
                                                                                                                                        From prior visit: Baby has congestion, cough,
                                                                                                                                        fever, and diarrhea. Ear infection also diagnosed.
                                                                                                                                        Baby prescribed antibiotics and exhibited          Officer 03/23/2019indicated in writing that
9           0                                                                                                                           exacerbated diarrhea.                              baby was transferred to the NICU.
                                                                                                                                        From prior visit: Mother reports that baby is cold
                                                                                                                                        to the touch. Baby exhibited fever and cough after
                                                                                                                                        two days in detention. Noted to be pallid on
10          1                                                                                                                           Monday, 06/10/19.
                                                                                                                                        From prior visit: Baby has a cough and cold and
                                                                                                                                        no access to the doctor.
11          2                                                                                                                           Mom also has a cough.
                                                                                                                                        From prior visit: Baby is not eating the food, hs
                                                                                                                                        not eaten a full meal in 15 days. He has diarrhea
                                                                                                                                        and is coughing. Got in line to see doctor and
12          3                                                                                                                           was not able to.

                                                                                                                                        From prior visit: Mom has been sick.
13          4                                                                                                                           Baby has had a cough, fever, and diarrhea.

                                                                                                                                        From prior visit:       is 8 months pregnant, is
                                                                                                                                        about to turn 18, and has a 2 year old son.
                                                                                                                                        No prenatal care, denied access to toilet facilities;
                                                                                                                                        has been at Ursula 20 days
14          5                                                                                                                           Son has the flu.
                                                                                                                                        From prior visit: Mom has had a fever and a sore
15          6                                                                                                                           throat
                                                                                                                                        prior interview with 03/23/2019
                                                                                                                                                                      14 year old brother,
                                                                                                                                                                    14-yr-old says that
16          7                                                                                                                                  (under 2) is vomiting and sick


17           8
18           9
19          10
20          11
21          12
22          13
23          14
24          15
25          16
26          16
27 17&18
28          19
29
30
31 Did we request to seedel
               Claudia  thisCarmen
                            kid?   Granados Lopez   AXXXXXXXX   Jose Manuel Corcas-Lopez              AXXXXXXXX
32
33
                                                                                                                    DOB 07/24/17, 1
34                                                               Briana Alexa Lopez-Constanza          203785156    year 11 mos
35                                                               Joseph Hernandez-Godinez              213150939    01/10/19, 5 mos
                                                                                                                    2/16/18, 1 year 4
36                                                               Stephanie Angelina Guzman-Roque       2038119560   mos

37                                                               Edwin Argelio Gonzalez-Matul          203913179    2/26/19, 3.5 mos
38                                                               Sirleny Leticia Villeda-Arita         213154352      03/21/16, 3 yrs

39                                                               Alejandro Carlos Valladares-Mendoza   203811289    10/04/17, 1.5 yrs    Exhibit 37                                                                                                                                     Page 179
40                                                               Breyson Idai Lopez-Ramirez            213153227    12/31/16, 2yrs
41                                                               Brithany Yireth Mendozan-Calderon     213153508    01/08/16, 3
42                                                               Rafaela Jamileth Chinchilla-Bueso     201573307    08/24/15, 3yrs
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                                                                      01/05/19, 5.5
43                  Gabriel Otoniel Santos-Mejia                   ID #:28900
                                                                      07/26/17, 1 yr 10
44                  Gerson Orellana-Alvarez               203811410   mos

45                  Genesis Samara Felipe-Portillo        203815450   12/16/18, 1.5 yrs
                    Kimberly Gabriela Fernanda Morales-
46                  Ferro                                 213154349   09/06/16, 2.5 yrs




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                                    03/23/2019   03/23/2019   03/23/2019   03/23/2019




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                          03/23/2019




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